                                       In The

                                 Court of Appeals

                     Ninth District of Texas at Beaumont

                               __________________

                               NO. 09-24-00253-CV
                               __________________


 IN RE BAYTOWN APARTMENT GROUP LLC, D/B/A PORT ARTHUR
        TOWNHOMES, GURINDA SINGH AKHTAR, AMBERS
   CONSTRUCTION, LLC, AIR AKHTAR, LLC, AND JEFF AKHTAR

__________________________________________________________________

                           Original Proceeding
             136th District Court of Jefferson County, Texas
                        Trial Cause No. D206,018
__________________________________________________________________

                           MEMORANDUM OPINION

      Relators Baytown Apartment Group LLC, d/b/a Port Arthur Townhomes,

Gurinda Singh Akhtar, Ambers Construction, LLC, Air Akhtar, LLC, and Jeff

Akhtar filed a petition for a writ of mandamus and a motion to stay all trial court

proceedings while we consider the petition. See Tex. Gov’t Code Ann. § 22.221(b);

see also Tex. R. App. P. 52.10(a). Relators argue the trial court abused its discretion

by denying Relators’ no evidence motion for summary judgment and that they lack

an adequate remedy by appeal because the case is still pending.


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      Mandamus relief is an extraordinary remedy that issues only to correct a clear

abuse of discretion for which the relator has no adequate remedy by appeal. See In

re Prudential Ins. Co. of Am., 148 S.W.3d 124, 135-36 (Tex. 2004) (orig.

proceeding); Walker v. Packer, 827 S.W.2d 833, 839-40 (Tex. 1992) (orig.

proceeding). “[M]andamus is generally unavailable when a trial court denies

summary judgment, no matter how meritorious the motion.” In re McAllen Med.

Ctr., Inc., 275 S.W.3d 458, 465 (Tex. 2008) (orig. proceeding). One exception

occurs when “the very act of proceeding to trial—regardless of the outcome—would

defeat the substantive right involved.” In re Academy, Ltd., 625 S.W.3d 19, 32 (Tex.

2021) (orig. proceeding).

      After considering the mandamus petition and appendix, we conclude that

Relators have failed to establish that the trial court’s order denying their motion for

summary judgment constitutes an abuse of discretion from which there is no

adequate remedy by appeal. We deny the petition for a writ of mandamus and motion

for temporary relief. See Tex. R. App. P. 52.8(a).

      PETITION DENIED.

                                                            PER CURIAM

Submitted on August 7, 2024
Opinion Delivered August 8, 2024

Before Golemon, C.J., Johnson and Wright, JJ.


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